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                                               UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------------------------------------------


RIVERKEEPER, INC.,
          Plaintiff,                                                                                           Case No. 7:24-cv-1234-PMH

v.                                                                                                             (PROPOSED)
                                                                                                               CONSENT DECREE
ROYAL COACH LINES, LLC and ROYAL COACH
LINES, INC.,
             Defendants.
------------------------------------------------------------------------------------------------------------


       WHEREAS, Plaintiff Riverkeeper, Inc. is a not-for-profit environmental organization
organized under the laws of the state of New York, with its principal place of business in
Ossining, New York.

       WHEREAS, Defendant Royal Coach Lines, LLC (“Defendant”) is a corporation
incorporated under the laws of the State of New York that has an office at 1010 Nepperhan
Avenue, Yonkers, NY 10703.

        WHEREAS, Defendant Royal Coach Lines, Inc. merged with Defendant Royal Coach
Lines, LLC in 2023, no longer exists as a separate corporate entity, and is hereby dismissed from
this lawsuit.

      WHEREAS, to the extent relevant to this Consent Decree, Defendant Royal Coach Lines,
LLC assumed the obligations, liabilities, and contracts of “Royal Coach Lines, Inc.”

        WHEREAS, Defendant participates in operation of at least a portion of the following
school bus vehicle and equipment maintenance and/or storage facilities (collectively referred to
as the “RC Facilities”):

                    •      2260 Saw Mill River Road, Elmsford, NY 10523 (“Elmsford”);
                    •      51 NY-100, Briarcliff Manor, NY 10510 (“Ossining”);
                    •      120 Primrose Street, Lincolndale, NY 10540 (“Somers”);
                    •      924 Broadway, Thornwood, NY 10594 (“Thornwood”);
                    •      475 West Hartsdale Avenue, Hartsdale, NY 10530 (“Greenburgh”);
                    •      1010 Nepperhan Avenue, Yonkers, NY 10703 (“RC Corporate”);
                    •      870 Nepperhan Avenue, Yonkers, NY 10703 (“870 Nepperhan”); and
                    •      1228 Saw Mill River Road, Yonkers, NY 10710 (“1228 SMRR”).

       WHEREAS, Plaintiff alleges that stormwater associated with industrial activities from
the RC Facilities discharges into navigable waters of the United States, including the Saw Mill
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River, the Pocantico River, the Plum Brook, and the Rum Brook, tributaries of the Hudson
River.

        WHEREAS, Defendant conducts industrial activities described under the primary
Standard Industrial Classification (“SIC”) Code of 4151 at the RC Facilities, and therefore any
discharge of stormwater associated with Defendant’s maintenance activities at those facilities is
subject to the General Permit for the Discharge of Stormwater Associated with Industrial
Activity (“MSGP”) issued by the New York State Department of Environmental Conservation
(“DEC”), Permit No. GP-0-23-001.

       WHEREAS, Defendant has operated the RC Facilities, in some cases for many years,
without coverage under the MSGP or individual Clean Water Act permits.

        WHEREAS, Plaintiff sent a notice of intent to sue Defendant (the “Notice Letter”) on
December 21, 2023, and filed a complaint on February 20, 2024, alleging violations of the Clean
Water Act (“CWA”) Sections 301 and 402, 33 U.S.C. §§ 1311(a), 1342, by, inter alia,
discharging polluted stormwater associated with industrial activity without coverage under the
MSGP and failing to comply with the conditions of the MSGP, seeking declaratory and
injunctive relief, civil penalties, and reasonable attorneys’ fees and costs.

      WHEREAS, Plaintiff filed an amended complaint (together with the February 20, 2024
complaint, the “Complaint”) supplementing the list of RC Facilities on April 22, 2024.

       WHEREAS, Plaintiff has entered and inspected the RC Facilities, and Plaintiff and
Defendant (collectively, “the Parties” or individually “Party”) have exchanged information
regarding compliance with the Clean Water Act at the RC Facilities.

       WHEREAS, Defendant submitted to DEC Notices of Intent to be covered under the
MSGP for Greenburgh, Elmsford, Ossining, Somers, and Thornwood on May 30–31, 2024, and
such coverage was acknowledged by DEC on July 10, 2024 for Ossining and on August 12, 2024
for Greenburgh, Elmsford, Somers, and Thornwood.

       WHEREAS, the Parties have assessed 1010 Nepperhan, 870 Nepperhan and 1228 SMRR
and agree that coverage under the MSGP is not required at those facilities at this time.

        WHEREAS, without any concession or admission by Defendant that it has violated the
Clean Water Act, or any concession or admission by Plaintiff that Defendant’s implementation
of the measures listed below will prevent all discharge of polluted stormwater or will assure
compliance with the terms and conditions of the MSGP, the Parties agree that it is in their
mutual interest to resolve this matter without the taking of evidence or findings of fact or law,
and the Parties would like to avoid prolonged and costly litigation.

        WHEREAS, this Decree shall be submitted to the United States Department of Justice and
the United States Environmental Protection Agency (“EPA”) for the 45-day statutory review
period, pursuant to 33 U.S.C. § 1365(c).



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        NOW, THEREFORE, without the trial of any issue of fact or law, without the admission
by Defendants of any of the facts or violations alleged in the Complaint, upon consent of the
Parties, and upon consideration of the mutual promises contained herein,

IT IS HEREBY STIPULATED BETWEEN THE PARTIES AND ORDERED,
ADJUDGED AND DECREED BY THE COURT AS FOLLOWS:

I.       DEFINED TERMS

The defined terms set forth in the foregoing recitals are hereby incorporated into the body of this
Decree and are made a part hereof. Terms used in this Decree that are defined in the Clean
Water Act, its implementing regulations, and the MSGP shall have the meanings assigned to
them therein, unless otherwise provided in this Decree. In addition, the following terms used in
this Decree have the meaning set forth below:

      1. Effective Date. The date upon which this Decree is entered by the Court.

      2. Term of this Decree. The period beginning on the Effective Date and ending three (3)
         years from the Effective Date, unless (a) a payment or other affirmative duty under this
         Decree is not completed in which case the Decree extends until those obligations are
         completed, or (b) Defendant requests an extension in accordance with Section III.

      3. Covered Facilities. The following RC Facilities:

            •    2260 Saw Mill River Road, Elmsford, NY 10523 (“Elmsford”);
            •    51 NY-100, Briarcliff Manor, NY 10510 (“Ossining”);
            •    120 Primrose Street, Lincolndale, NY 10540 (“Somers”);
            •    924 Broadway, Thornwood, NY 10594 (“Thornwood”); and
            •    475 West Hartsdale Avenue, Hartsdale, NY 10530 (“Greenburgh”).

      4. Defendant. Royal Coach Lines, LLC.

      5. SWPPP. Stormwater Pollution Prevention Plan, as defined in the MSGP.

      6. Operative SWPPP. The most recent version of the SWPPP for each Covered Facility.
         At the time of signing, the Operative SWPPPs are the SWPPPs attached hereto as
         Exhibit A–E.

II.      JURISDICTION AND VENUE

      7. Jurisdiction. Jurisdiction over this action is conferred by 28 U.S.C. § 1331 (federal
         question), 33 U.S.C. § 1365(a) (Clean Water Act jurisdiction). Plaintiff has standing
         and has complied with the statutory notice requirements under the CWA, 33 U.S.C.
         § 1365(a)(1), and the corresponding regulations at 40 C.F.R. § 135.2. An actual,
         justiciable controversy exists between Plaintiff and Defendant. The requested relief is
         proper under 28 U.S.C. §§ 2201, 2202, and 33 U.S.C. § 1365(a).


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       8. Venue. Venue is properly vested in this Court pursuant to 33 U.S.C. § 1365(c)(1),
          because the events giving rise to this action occurred at the RC Facilities and in the Saw
          Mill River, the Pocantico River, the Plum Brook, and the Rum Brook, all of which are
          tributaries of the Hudson River, navigable waters of the United States, that are located
          within this judicial district.

       9. Consent. For purposes of this Decree, or any action to enforce this Decree, Defendant
          consents to the Court’s jurisdiction over this Decree and any such action and over
          Defendants. For purposes of this Decree, Defendant consents to venue in this judicial
          district.

III.      COVERAGE UNDER THE MSGP

       10. Compliance with SWPPPs and the MSGP. Defendant will implement the Operative
           SWPPPs at the respective Covered Facility in compliance with the terms of the MSGP,
           which is hereby incorporated into this Decree, and the Clean Water Act. A failure to
           adhere to the Operative SWPPP and/or the MSGP for any Covered Facility is a violation
           of this Decree.

       11. SWPPP Implementation. The SWPPPs attached hereto as Exhibits A–E shall be fully
           implemented by three (3) months of the Effective Date. Upon fourteen (14) days' notice,
           Defendants may request an extension of up to three (3) months, which extension shall
           extend the Term of Decree by a corresponding three (3) months. Defendant shall provide
           Plaintiff with an Implementation Report for each Covered Facility, prepared by a qualified
           stormwater professional, attesting to implementation of the Covered Facility’s Operative
           SWPPP within thirty (30) days of completion. The Report shall include:
               a. A summary of Best Management Practices (“BMPs”) implemented after
                   December 21, 2023;
               b. Photographs of all BMPs added or improved;
               c. A certification that the professional has visited the Facility in the month prior to
                   submission of the Implementation Report;
               d. A certification that, during the professional’s last visit, all BMPs described in the
                   Operative SWPPP were in good working order and all housekeeping measures
                   appeared to be taking place.

       12. SWPPP Amendments. If, during the Term of this Decree, Defendant amends any
           SWPPP, or is required to amend any SWPPP for any reason, including but not limited to
           the reasons enumerated in the MSGP, Defendant shall provide written notice to Plaintiff
           within thirty (30) days of the amendment and shall provide Plaintiff with supporting
           documentation that explains Defendant’s rationale for such amendment. Defendant shall
           notify Plaintiff of its intent to remove any BMPs from an Operative SWPPP attached
           hereto as Exhibit A–E at least thirty (30) days prior to any such removal. Plaintiff shall
           have fifteen (15) days from receipt of Defendant’s notice to object to Defendant
           removing any BMP from an Operative SWPPP. Should Plaintiff object, the Parties shall
           follow the Dispute Resolution Procedure outlined in Section X.



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      13. Schedule of Compliance – Plaintiff’s Covenant not to Sue. The MSGP requires
          aspiring permittees to prepare and fully implement a SWPPP before they are eligible to
          seek coverage under the MSGP. In deference to practical considerations, the Consent
          Decree allows a thirty (30) day period for Defendant to complete all structural
          modifications at all Covered Facilities. Therefore, this Decree requires Defendant to
          seek permit coverage before fully implementing its SWPPP for each Covered Facility.
          Provided that the structural modifications described in each SWPPP are completed on
          schedule, Plaintiff hereby covenants not to prosecute Defendant’s failure to fully
          implement any SWPPP at any Covered Facility before seeking coverage under the
          MSGP and covenants not to challenge Defendant’s status under the MSGP at any
          Covered Facility during this initial period until each SWPPP is fully implemented.

      14. Implemented Stormwater Controls. Defendant shall maintain in good working order
          all stormwater collection and treatment systems currently installed or to be installed
          pursuant to this Consent Decree, including but not limited to existing housekeeping
          measures. If the foregoing requires the participation or cooperation of a third-party,
          including the owner of the real property where any Covered Facility is located,
          Defendant shall use best efforts to obtain such participation or cooperation. If such third-
          party refuses to participate or cooperate as necessary for Defendant to comply with this
          Paragraph, Defendant shall notify Plaintiff in accordance with Paragraph 36.

IV.      MONITORING PROGRAM

      15. Additional Monitoring. In addition to the inspections, monitoring, and reporting
          required under the MSGP and set forth in the Operative SWPPPs, Defendant agrees to
          perform the following additional monitoring described in Section IV during the Term of
          this Decree.

      16. Sampling Points. The sampling points shall be those described in the Operative
          SWPPPs.

      17. Sampling Frequency. The sampling frequency shall occur as set forth in the Operative
          SWPPPs, however, should Defendant report exceedance(s) of benchmarks and/or
          numeric effluent limitations at any Covered Facility during the Term of this Decree,
          Defendant will sample and analyze an additional stormwater discharge for the exceeded
          parameter(s) in the following (i.e., immediately subsequent) quarter at any such Covered
          Facility. Defendant will take and analyze additional samples for Chemical Oxygen
          Demand at Ossining and Greenburgh in Quarter 1 of 2025.

      18. Sampling Methodology. Defendant will take samples at each sampling point in a
          manner that is consistent with the requirements and protocols set forth in the MSGP.
          Defendant may report this sampling as part of the stormwater monitoring required by the
          MSGP.

      19. Recordkeeping. Defendant will comply with the reporting and recordkeeping
          requirements of the MSGP. Defendant shall maintain written documentation at each


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   Covered Facility describing all inspections and assessments required under applicable
   provisions of the MSGP or of this Decree.

20. Photographs of Quarterly Inspections. While conducting routine quarterly
    inspections of BMPs (required by Part IV.B of the MSGP) and quarterly visual
    monitoring (required by Part IV.E of the MSGP) for each Covered Facility, Defendant
    will photograph:
        a. Each BMP;
        b. Any deficiencies in the implementation and/or adequacy of the BMPs;
        c. Each visual monitoring sample in a completely clear and transparent container,
            with a view from above and from the side of the container; and
        d. Any corrective actions taken in accordance with Part V of the MSGP.

21. Results sent to Plaintiff. Defendant will send to Plaintiff a copy of every inspection
    record made, every sampling result and photograph taken, every BMP maintenance log,
    and every employee training log produced in accordance with the SWPPP and the MSGP
    for each Covered Facility during the Term of this Decree once per calendar year, no later
    than February 1 of the following year or on the last day during which this Decree is in
    effect, whichever is sooner, unless earlier reporting of an exceedance or violation is
    required pursuant to Section V.

22. Provision of Government Documents to Plaintiff. During the Term of this Decree,
    Defendant shall provide Plaintiff with copies of any documents, including
    correspondences, that are exchanged with any government agency, including but not
    limited to DEC and EPA, that are related to discharges of pollution from the Covered
    Facilities to waterbodies or sewers of any kind or Clean Water Act compliance.
        a. Routine inspection reports, monitoring data and reports, and certifications for
            each Covered Facility shall be submitted to Plaintiff on or before February 1 of
            the following year or on the last day during which this Decree is in effect,
            whichever is sooner, including but not limited to:
                  i. Documents and correspondence related to Defendant’s SPDES/NPDES
                     permit coverage at the Facility;
                 ii. Annual reports, including the Annual Certification Report required under
                     the MSGP; and
                iii. Monitoring or sampling data.
        b. Records of an exceedance, permit violation, government inspection report, or
            public or government complaint regarding any Covered Facility shall be
            submitted to Plaintiff within thirty (30) days, including, but not limited to:
                  i. Data related to discharges of industrial wastewater or industrial
                     stormwater to the sanitary sewer system, if any; and
                 ii. Reports of spills or other incidents that may result in discharge of
                     pollutants to a waterbody or sewer;
                iii. Documents relating to inspections conducted by any governmental
                     agency that relate to industrial wastewater or industrial stormwater; and
                iv. Any record of a complaint received by the government regarding any RC
                     Facility.

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     23. Inspections. Defendant agrees to grant site access to representatives of Plaintiff,
         including consultants acting on its behalf, to inspect for compliance with the MSGP and
         this Decree at each Covered Facility up to one (1) time per quarter (i.e., four (4) times
         per year), during the Term of this Decree (a “Site Inspection”). The Site Inspection shall
         occur during normal business hours. Plaintiff shall provide Defendant with as much
         notice as possible, but at least forty-eight (48) hours’ notice prior to a Site Inspection
         during wet weather, and seventy-two (72) hours’ notice prior to a Site Inspection during
         dry weather, by electronic mail. Upon such notice, Defendant may either (1) send
         confirmation or (2) propose a reasonable alternate date or time for said entry that is no
         more than seven (7) days from the originally noticed date. The parties shall confer
         regarding any scheduling conflicts, as necessary. During a Site Inspection, Defendant
         shall allow Plaintiff and/or its representatives access to all parts of the Covered Facility
         necessary to evaluate compliance with its Operative SWPPP, stormwater monitoring
         records, and nonprivileged reports and data related to stormwater monitoring required by
         the MSGP and this Decree at the Covered Facility. During a Site Inspection, Plaintiff’s
         representatives may collect samples of stormwater for analysis of parameters listed in
         the MSGP and SWPPP. Plaintiff may also request that Defendant collect samples of
         sediment, materials, or other substances for the purpose of identifying the source of an
         exceedance or non-compliance. Plaintiff shall be permitted to take photographs and/or
         video recordings of portions of the Covered Facilities pertinent to compliance with the
         Operative SWPPPs, MSGP, and this Decree during any Site Inspection pursuant to this
         Paragraph. Materials shall be collected and retained solely for the purpose of evaluating
         compliance with the Operative SWPPPs, MSGP, and this Decree. If Plaintiff takes
         photographs and/or video recordings, Plaintiff shall provide Defendant with the
         photographs and/or video within fourteen (14) calendar days after the Site Inspection.
         Plaintiff shall not provide said photographs and/or video to any third party, except as
         necessary for enforcement of this Decree. During any inspections covered by this
         Decree, Plaintiff and its consultants agree to observe all safety rules and restrictions
         prescribed by Defendant’s employees, and Plaintiff acknowledges that certain areas of a
         Covered Facility may not be accessible during an inspection due to safety reasons. In the
         event that Plaintiff or is consultants are unable to access a portion of a Covered Facility,
         the parties will, as soon as reasonably possible, schedule a subsequent site visit during
         which Plaintiff can complete its inspection.

     24. Additional Inspections. Should any material noncompliance with the MSGP or the
         terms of this Decree be noticed by Plaintiff pursuant to Section XI for any Covered
         Facility, Defendant will provide the opportunity for one (1) additional site visit per
         month until the Covered Facility is fully compliant with the MSGP and this Decree, and
         the Parties will follow the procedures outlined for corrective action in Section V.
         Defendant does not through this process admit that the noncompliance alleged by
         Plaintiff has occurred, and Defendant retains the right to contest any alleged violations.

V.      EXCEEDANCES AND VIOLATIONS

     25. Reporting Exceedances of Numeric Effluent Limitations and Benchmark
         Monitoring Cutoff Concentrations. Notwithstanding the annual reporting schedule set
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         forth in Section IV, if at any point during the Term of this Decree the analytical results
         of any sample for any parameter exceeds any applicable numeric effluent limitation or
         benchmark monitoring cutoff concentration established in the MSGP, Defendant shall
         report the event to Plaintiff and provide the analytical results within ten (10) business
         days of receiving the analytical results.

      26. Corrective Action Plan. Where an effluent limitation or benchmark monitoring cutoff
          concentration established in the MSGP is exceeded, where a violation of the Operative
          SWPPP or the MSGP is identified, or when Plaintiff provides Defendant notice of non-
          compliance with the terms of this Decree for any Covered Facility, Defendant agrees to
          take responsive actions to improve stormwater management practices, including re-
          evaluating structural and non-structural BMPs and considering additional BMPs aimed
          at curing the violation and/or reducing pollutant levels observed in samples. Within
          thirty (30) days of discovering such exceedance or non-compliance, Defendant shall
          provide Plaintiff with a Corrective Action Plan containing the following information:

             a. Identification of any constituent that experienced an exceedance and/or the
                condition that caused the violation or non-compliance;
             b. Explanation of the possible cause(s) and/or source(s) of the exceedance,
                violation, or non-compliance; and
             c. Responsive actions to improve stormwater management practices (which may
                include modified or additional feasible BMPs and/or improved sampling and
                laboratory analysis procedures, as appropriate) and the proposed dates that such
                actions will be taken.

         Defendant shall complete all responsive actions within twelve (12) weeks of discovery,
         unless Plaintiff concurs to an extended timeline for completion. See Part V.A of the
         MSGP. Any concurrence or failure to object by Plaintiff shall be deemed consent for
         purposes of Defendant’s compliance with this Decree, but not an admission of the
         adequacy of such measures, should said measures fail to bring the Covered Facility’s
         stormwater into compliance with applicable water quality criteria or the Clean Water
         Act’s technology-based standards requiring industrial stormwater discharges to be
         controlled to the level achievable by the best available technology economically
         available.

VI.      PAYMENTS

      27. Environmentally Beneficial Project (“EBP”). Defendant shall pay the sum of two
          hundred and thirty-five thousand dollars ($235,000) to Groundwork Hudson Valley (the
          “EBP Recipient”) for use on projects relating to the reduction, mitigation, and/or
          remediation of the effects of stormwater pollution or environmental restoration of, or
          other benefit to, the Hudson River watershed. Defendant shall transfer the payment to
          the EBP Recipient within five (5) business days of the Effective Date by check or
          electronic transfer. A check shall be sent via certified mail, or similar service with
          tracking. Defendant shall concurrently notify Plaintiff that payment has been sent to the
          EBP Recipient and provide the tracking number. None of this payment shall be
          disbursed to Plaintiff.
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   28. Stipulated Additional EBP. Should Defendant fail to provide information or any
       required documentation to DEC or Plaintiff by the deadlines required by the MSGP or
       this Decree, Defendant shall make an additional payment of one-hundred dollars ($100)
       for each day of such failure, which shall accrue from the date of the missed deadline.
       Payments shall be made to the EBP Recipient in the manner specified above. Payment
       of each additional amount shall be aggregated and paid in a single, lump sum by June 30
       of each year for the prior year. Defendant shall concurrently notify Plaintiff each time a
       payment is made and provide a copy of each check and the tracking number. None of
       these payments shall be disbursed to Plaintiff.

   29. Fees, Costs, and Expenses. Defendant shall pay a sum of one hundred sixty-six
       thousand two hundred fifty dollars ($166,250) as full and complete satisfaction of
       Plaintiff’s claims for attorneys’ fees and costs incurred to date, including investigative
       and expert costs. Defendant shall transfer the payment to Super Law Group within five
       (5) business days of the Effective Date by check or electronic transfer. A check shall be
       sent via certified mail, or similar service with tracking and shall be payable to “Super
       Law Group, LLC Attorney Trust - IOLA”. Payments will be deposited in Super Law
       Group’s IOLA Trust Account for the benefit of Plaintiff.

   30. Compliance Oversight Fees and Costs. Plaintiff will incur costs in order to monitor
       Defendant’s compliance with this Decree, including but not limited to costs incurred by
       Plaintiff or their counsel or consultants to conduct site inspections, collect or review
       water quality sampling data, review annual reports, and discuss with representatives of
       Defendant any potential changes to compliance requirements, preparation and
       participation in mediation, and similar activities. To help defray these costs, Defendant
       agrees to pay Plaintiff’s fees and costs in an amount not to exceed forty thousand dollars
       ($40,000) through the Term of this Decree. Defendant shall transfer the payment to
       Super Law Group within five (5) business days of the Effective Date by check or
       electronic transfer. A check shall be sent via certified mail, or similar service with
       tracking and shall be payable to “Super Law Group, LLC Attorney Trust - IOLA”.
       Payments will be deposited in Super Law Group’s IOLA Trust Account for the benefit
       of Plaintiff. Any funds not used during the Term of this Decree shall be donated to the
       EBP Recipient identified in Paragraph 27.

VII.    EFFECT OF DECREE

   31. Plaintiff’s Release of Liability. Upon Court approval and entry of this Consent Decree,
       Plaintiff covenants not to sue and releases Defendant (including its representatives,
       assigns, agents, employees, officers, attorneys and consultants) from any and all claims,
       causes of action, or liability under CWA Section 505, 33 U.S.C. § 1365, for damages,
       penalties, fines, injunctive relief, or any other claim or relief (a) relating to or resulting
       from allegations and claims set forth in the Notice Letter, and (b) for any past violations
       at the RC Facilities of the Clean Water Act’s stormwater provisions alleged, or that
       could have been alleged, in the Complaint. This Paragraph does not constitute a waiver
       or release of any claims relating to the enforcement of this Decree.


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  32. Reservation. Plaintiff does not waive its right to bring a future action based on
      stormwater discharges that occur after the Term of this Decree.

  33. Change(s) to Covered Facilities. Defendant may notify Plaintiff of any additional school
      bus facility owned or operated by Defendant in the Hudson River watershed during the
      Term of this Decree. Should Plaintiff have any concern regarding compliance with the
      Clean Water Act at any such facility, such concern shall be, in the first instance, subject
      to sixty-day informal negotiations between the Parties, prior to the provision of any
      Notice of Intent to Sue. If Plaintiff does not provide a Notice of Intent to Sue, the Parties
      may move to amend this Decree to add such facility to the definition of Covered
      Facilities. Defendant may notify Plaintiff that a Covered Facility is no longer operated by
      Defendant and provide Plaintiff with supporting evidence. Following Defendant’s
      provision of notice and supporting evidence, the parties may move to amend this Decree
      to remove such facility from the definition of Covered Facilities.

  34. Defendant’s Releases of Liability. Defendant releases and discharges Plaintiff and its
      representatives, assigns, agents, employees, officers, attorneys and consultants,
      including those who have held positions in the past, from any and all claims, liability,
      demands, penalties, costs, and causes of action of any nature which concern or are
      connected with this action.

  35. Compliance with Law. Plaintiff does not by consent to this Decree warrant or aver in
      any manner that Defendant’s compliance with this Decree shall constitute or result in
      compliance with federal or state law or regulation. Nothing in this Decree shall be
      construed to affect or limit in any way the obligations of Defendant to comply with all
      federal, state, and local laws and regulations governing any activity required by this
      Decree.

  36. Impossibility of Performance. Where implementation of the actions set forth in this
      Decree within the agreed deadlines becomes impossible, despite the timely good faith
      efforts of the Parties, the Party who is unable to comply shall notify the other in writing
      within five (5) business days of the date that the failure becomes apparent and shall
      describe the reason for the non-performance. The Parties agree to meet and confer in
      good faith concerning the non-performance and, where the Parties concur that
      performance was or is impossible, despite the timely good faith efforts of one of the
      Parties, new performance deadlines shall be established. If the Parties cannot timely
      agree upon the terms of such a stipulation, the Parties shall follow the Dispute
      Resolution Procedure outlined in Section X.

VIII. FEDERAL REVIEW OF DECREE

  37. Review by United States. The Parties recognize that, pursuant to 33 U.S.C.
      § 1365(c)(3), this Decree cannot be entered until forty-five (45) days after the receipt of
      a copy of the proposed Decree by the Attorney General of the United States and the
      Administrator of the EPA. Therefore, upon signing of this Decree by the Parties,
      Plaintiff shall serve copies of this Decree upon the EPA Administrator, the Regional
      EPA Administrator, and the Attorney General for review, as required by 40 C.F.R.
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         § 135.5. If for any reason the United States should decline to approve this Decree in the
         form presented, the Parties agree to continue negotiations in good faith to cure any
         objection to entry of this Decree raised by the United States.

      38. Entry of Order. Upon the expiration of the forty-five (45) day review period provided
          by 33 U.S.C. § 1365(c)(3), the Parties shall move the Court for entry of this Decree. If
          for any reason the Court should decline to approve this Decree in the form presented, the
          Parties agree to continue negotiations in good faith to cure any objection to entry of this
          Decree raised by the Court.

IX.      MODIFICATION AND ENFORCEMENT OF DECREE

      39. Modification in Writing. This Decree may be modified only upon written consent of
          the Parties and the approval of the Court.

      40. Continuing Jurisdiction of the Court. This Court shall retain and shall have
          jurisdiction over the Parties to this Decree for the resolution of any disputes that may
          arise under this Decree. This Court shall also allow this action to be reopened for the
          purpose of enabling the Parties to this Decree to apply to the Court for any further order
          that may be necessary to construe, carry out, enforce compliance and/or resolve any
          dispute regarding the terms or conditions of this Decree.

X.       DISPUTE RESOLUTION PROCEDURE

      41. Meet and Confer. Any disputes or alleged violations with respect to any of the
          provisions of this Consent Decree shall be, in the first instance, the subject of informal
          negotiations for a minimum of a thirty (30) day period between the Parties affected by the
          dispute to attempt to resolve such dispute.

      42. Motion. If a dispute between the Parties cannot be resolved by informal negotiations, a
          Party may file a motion with the Court seeking resolution of the dispute. The motion
          shall set forth the nature of the dispute and a proposal for its resolution. The other Party
          shall have thirty (30) days to respond to the motion and propose an alternate resolution.

      43. Notice. The moving Party shall provide the other Party with seventy-two (72) hours
          written notice prior to initiating court proceedings to enforce this Decree.

      44. Fee Awards. In resolving any dispute arising from this Agreement, the Court shall have
          discretion to award attorneys’ fees and costs. The relevant provisions of the Clean Water
          Act and Rule 11 of the Federal Rules of Civil Procedure shall govern the allocation of
          fees and costs in connection with the resolution of any disputes before the Court.

      45. Remedies. The Parties acknowledge and agree that specific performance, declaratory
          relief, and injunctive relief are the only appropriate remedies for any breach of this
          Agreement, and under no circumstances shall monetary damages be allowed for any
          breach of this Agreement. EBPs, awards of fees and costs, and/or penalties payable to the
          U.S. Treasury are not damages.

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XI.      MISCELLANEOUS PROVISIONS

      46. Entire Agreement. This Decree constitutes the entire agreement among the Parties
          concerning the subject matter hereof and supersedes all previous correspondence,
          communications, agreements, and understandings, whether oral or written, among the
          Parties.

      47. Notices. Any notice, demand, copies of documents, or other communications required
          to be made under the provisions of this Decree (collectively, “Notices”) by any Party
          hereto shall be effective only if in writing. Notices shall be directed to the Parties at
          their respective addresses set forth below. Notices given in the foregoing manner shall
          be deemed given: (a) if delivered by courier, when actually received or refused by the
          addressee; (b) if mailed, on the day of actual delivery as shown by the addressee’s
          registered or certified mail receipt or at the expiration of three (3) business days after the
          date of mailing, whichever first occurs; or (c) if e-mailed, when acknowledged by the
          addressee. Each Party shall promptly notify the other Party of any change in this contact
          information, including but not limited to a change in representation.

         Notices for Plaintiff shall be sent to:      Notice for Defendant shall be sent to:

         Andie Altchiler                              Xavier Lawrence
         andie@superlawgroup.com                      xlawrence@andersonkreiger.com
         and                                          and
         Julia Muench                                 Colin Van Dyke
         julia@superlawgroup.com                      cvandyke@andersonkreiger.com

         Super Law Group, LLC                         Anderson & Kreiger LLP
         222 Broadway, 22nd Floor                     50 Milk Street, 21st Floor
         New York, NY 10038                           Boston, MA 02109

         Notices sent to the individuals listed       Notices sent to the individuals listed above at
         above at the address listed above shall      the addresses listed above shall be deemed as
         be deemed as notice to Plaintiff.            notice to Defendant.


      48. Authorization. Each person signing this Decree represents and warrants that s/he has
          been duly authorized to enter into this Decree by the Party on whose behalf it is
          indicated that the person is signing.

      49. Successors and Assigns. This Decree shall be binding upon and inure to the benefit of
          the Parties and their respective representatives, heirs, executors, administrators,
          successors, officers, directors, agents, attorneys, employees and permitted assigns.

      50. Interpretation. The provisions contained herein shall not be construed in favor of or
          against any Party because that party or its counsel drafted this Decree, but shall be
          construed as if all Parties prepared this Decree, and any rules of construction to the
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        contrary are hereby specifically waived. The terms of this Decree were negotiated at
        arm’s length by the Parties hereto.

   51. Headings. The section and paragraph headings contained in this Decree are for
       reference purposes only and shall not affect in any way the meaning or interpretation of
       this Decree.

   52. Counterparts. This Decree may be executed in two or more counterparts, each of
       which will be deemed an original but all of which together will constitute one and the
       same instrument. The Parties authorize each other to detach and combine original
       signature pages and consolidate them into a single identical original. Any one of such
       completely executed counterparts shall be sufficient proof of this Decree. Telecopied,
       scanned (.pdf), and/or facsimiled copies of original signature shall be deemed to be
       originally executed counterparts of this Decree. Copies of the original Decree, whether
       transmitted by facsimile or other means, shall be effective.

   53. Severability. In the event that any of the provisions of this Decree are held by a court to
       be unenforceable, the validity of the enforceable provisions shall not be adversely
       affected, except as to Section IX (providing for the continuing jurisdiction of this Court),
       which is an essential term and—if not in force—this agreement shall be null and void.

   54. Changes to the MSGP. Defendant will comply fully with the MSGP and any permit
       modification, individual permit, or MSGP reissuance applicable to the Facility during
       the Term of this Decree. If any action required by this Decree conflicts with a change to
       the MSGP, the MSGP will control.

   55. Publicity. Any public statement made by Defendant in any press release, in any written
       material promoting Defendants’ environmental or charitable practices or record, or in
       Defendants’ Annual Reports that refers to Defendant’s payments under this Decree shall
       include the following language: “Payments to this organization were made pursuant to
       the settlement of a Clean Water Act enforcement suit brought by Riverkeeper, Inc.”

   56. Findings. The Parties attest and the Court, by entering this Consent Decree, finds that
       this agreement has been negotiated by the Parties in good faith; that settlement of this
       matter is in the public interest and in accordance with the Clean Water Act; and entry of
       this Consent Decree is fair and reasonable.

XII.    EXHIBITS

   57. The following Exhibits are attached to this Decree and made a part hereof:

        a.   Exhibit A: Stormwater Pollution Prevention Plan for Elmsford
        b.   Exhibit B: Stormwater Pollution Prevention Plan for Ossining
        c.   Exhibit C: Stormwater Pollution Prevention Plan for Somers
        d.   Exhibit D: Stormwater Pollution Prevention Plan for Thornwood
        e.   Exhibit E: Stormwater Pollution Prevention Plan for Greenburgh
        f.   Exhibit F: Schedule for Compliance Obligations
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